                      Case 2:08-cr-00376-WBS Document 401 Filed 04/18/12 Page 1 of 1
                                   OFFICE OF THE FEDERAL DEFENDER
                                          EASTERN DISTRICT OF CALIFORNIA
                                               801 I STREET, 3rd FLOOR
                                           SACRAMENTO, CALIFORNIA 95814
Daniel J. Broderick                           (916) 498-5700 Fax: (916) 498-5710                           Linda C. Harter
Federal Defender                                                                                  Chief Assistant Defender




                                  M E M O R A N D U M AND ORDER

     DATE:               April 17, 2012

     TO:                 Colleen Lydon, Courtroom Clerk to
                         Honorable Edward J. Garcia

     FROM:               Douglas Beevers, Assistant Federal Defender

     SUBJECT:            United States v. William Baker, Cr-S-08-0376 EJG
                         Continuance of Judgment and Sentencing



            Please continue the Judgment and Sentencing in this case from April 27, 2012 to May 11,
     2012 at 10:00a.m. The continuance is needed to allow the parties the opportunity to respond to the
     pre-sentence report’s conclusions regarding relevant conduct and the defendant’s medical history.
     The defendant has no objection to the pre-sentence report’s guidelines calculations.

                The new schedule of disclosure is as follows:

                                              OLD DATE                         NEW DATE

     Pre-Sentence Report:                     4/06/2012                        already filed

     Motion for Correction:                   4/13/2012                        04/27/2012

     Reply/ Non-Opposition:                   4/20/2011                        05/04/2012

     Judgment and Sentencing:                 4/27/2012 @ 10:00am              05/11/2012 @ 10:00am

             The Government, AUSA Russell Carlberg and the United States Probation Officer, Hugo
     Ortiz, have no objections to this continuance.

     SO ORDERED.

     Dated: April 17, 2012                                    /s/ Edward J. Garcia
                                                              ___________________________________
                                                              EDWARD J. GARCIA
                                                              United States District Court
